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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

   BENSON GITHIEYA, et al.,

           Plaintiffs,

   v.                                                CIVIL ACTION NO:
                                                     1:15-CV-00986-AT
   GLOBAL TEL LINK CORP.,

           Defendant.


PLAINTIFFS’ NOTICE OF FILING AND STATUS UPDATE REGARDING
MOTION TO INTERVENE AND CONDITIONAL OBJECTION IN JAMES

        Plaintiffs respectfully file this Status Update regarding James v. Global Tel

Link, D.N.J. Case No. 13-cv-04989-WJM-MF, pending before the United District

Court for the District of New Jersey (“James”), and Notice of Filing of certain

documents Plaintiffs and GTL have filed in James. Following the August 7, 2020

telephonic hearing in this action, Plaintiffs moved to intervene or serve as amici in

the James action for the purpose of raising a conditional objection to the proposed

class settlement. The objection is conditioned on whether the release in the proposed

settlement agreement is construed to impact the claims of a subset of Githieya class

members who are also members of the James class.
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      Plaintiffs’ motion to intervene or serve as amicus curiae, conditional

objection, and exhibits are attached as Exhibits A (motion) and B (conditional

objection and exhibits thereto). GTL’s response in opposition to Plaintiffs’ motion is

attached as Exhibit C, and the James Plaintiffs’ response is attached as Exhibit D.

Plaintiffs’ reply in support of their motion is attached as Exhibit E.

      Plaintiffs provide these filings from James to keep the Court apprised of

occurrences in that case that may be relevant in this one. In particular, Plaintiffs

believe the Court should be aware of the following positions taken by GTL:

      • First, GTL argued that Plaintiffs lacked standing to intervene or object in
        James “because no class has been certified in Githieya, [so] counsel to the
        Githieya plaintiffs have no authority to speak for absent class members
        who might also be members of the class in James.” Ex. C at 71; see also id.
        at 11, 15, 19; see also Ex. D at 5, 9-10, 13.

      • Second, GTL argued the proposed settlement in James will impact the
        claims of some members of the putative class in this case. Just two months
        ago, GTL responded to this Court’s question about whether the settlement
        in James would release any claims at issue in this case by asserting it
        “can’t take a position” because “[t]he settlement in James hasn’t been
        approved.” See Ex. B-7 (transcript of this Court’s August 7, 2020
        telephonic hearing) at 22:18-23:25. But in response to Plaintiffs’ motion to
        intervene, GTL told the James Court that the settlement agreement “would
        clearly have a preclusive effect on Githieya”¾even though the settlement

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       To address the concern the Court raised during the last hearing in this matter,
see Ex. B-7 at 6:8-12, Plaintiffs have removed the ECF stamp applied when these
documents were filed in the James action to avoid indecipherable double stamping.
Plaintiffs cite to the page numbers assigned by this Court’s CM/ECF system rather
than any internal pagination, except with respect to the transcript of this Court’s
August 7, 2020 telephonic hearing.

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         still has not been approved. Ex. C at 23. Plaintiffs disagree but believe it
         important to bring this change in GTL’s position to the Court’s attention.

      • Finally, this Court told GTL two months ago that it “will be granting
        sanctions and serious sanctions” against GTL. Ex. B-7 at 8:19-20. But, in
        opposing Plaintiffs’ request to intervene, GTL told the Court in James that
        “[n]o sanctions have been imposed” on it by this Court. Ex C. at 11 n.2.

      The final fairness hearing for the proposed class settlement in James is

currently scheduled for October 15, 2020.

                           [signature on following page]




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Respectfully submitted this 6th day of October, 2020.

                               /s/ Michael A. Caplan
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                               Counsel for Plaintiffs and the Proposed
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this day I caused a true and correct copy of the

foregoing document to be filed with the clerk’s office by this Court’s CM/ECF

system which will serve a true and correct copy of the same upon all counsel of

record.

      This 6th day of October, 2020.

                                       /s/ Michael A. Caplan
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